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    b. Call recordings must be stored online, accessible to, and downloadable by the County, for the
       length of the contract. Call recordings must be made available to the County at no charge for
       three years after contract expiration, even ifthe Jail decides to use another inmate phone system
       provider.
         *~RESPONSE: READ, AGREE, AND WILL COMPLY.

         All call recordings and system data are backed up in real-time and available through any
         internet-enabled device. Recordings are available for the duration of the agreement, and
         longer if required by Yellowstone County.

    c.   Users must be able to search call recordings by inmate's name, date of call, location in facility call
         originated, and destination number.
         :rtt(n313RESPCNSE: READ, AGREE, AND WILL COMPLY.
          'f
         Our Call H istory and CDRs allow searching by partial destination numbers, call
         disposition, such as answering machine, no answer, busy line, call denied by caller, call
         blocked by caller, invalid PIN (when inmates are trying to hack PINs ), invalid destination
         number, frequently called numbers and over 20 more options. The Call Detail screen
         shown below lists all calls that are placed/ accepted in addition the report lists the date,
         time, and duration of all calls, local or long distance and even calls to commissary.
         Authorized users can customize their reporting based on areas of investigative interest.

                                                                                    Screenshot - Call Detail Report
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    d. Call recordings should be easily downloadable, by both individual recording, and batch downloads
       of multiple recordings by shared criteria (e.g., inmate's name, date of call, and housing unit) .
          .A.
         ~~RESPONSE: READ, AGREE, AND WILL COMPLY.

         The proposed system utilizes the innovative Briefcase feature for the collection,
         organization and sharing of call recordings . The powerful Call History tab provides the
         search, reporting and sorting requirements to easily find CDRs based on selected criteria.
         Authorized Users can easily add recordings to the Briefcase and manage downloads for
         saving in .zip files, ISO files, .wav formats and .mp3 formats for listening on all internet-
         connected devices such as PC's, laptops, tablets, and smartphones .




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                                                                                                                                                                                                            INMATE COMMUNICATIONS




       The Briefcase function allows for an unlimited number of designated recording folders
       that can be shared with other investigators or system users . Investigators can easily and
       quickly access calls to view, listen, share, download, etc. The Briefcase tab allows an
       investigator to choose other users within their agency or outside agencies by clicking on
       "Share" to view the user list, select user, click "Add," and click "Share" again. Authorized
       Users are appropriately notified that calls have been shared. Please see the sample
       screenshots on the following page depicting investigate Briefcase functionality.


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    e.    Filenames of call recordings should include identifying information (e.g., inmate's name and date
          of call, etc.).
          : ( ~ ~ R E S P ONSE: READ, AGREE, AND WILL COMPLY.

           The file names of downloaded phone calls contain the following information:
         · • Inmate PIN
           • Dialed phone number
           • Date of call
           • Time of call
          A sample screenshot of an example file name has been provided below.




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     f.   Call recordings must be downloadable to a common audio format (e.g., mp3, wav, etc.).
           lClaI3I3RESPONSE : READ, AGREE, AND WILL COMPLY.
            y
          All Authorized Users can easily manage downloaded record ings for saving in .zip files,
          I SO files, .wav and .mp3 formats for listening on all devices, P C's, M acs, tablets, and
          smart phones. The user can also email files to selected recipients or burn the files to a
          CD, DVD or Z I P file. Windows XP or newer has the capability to burn disks built in.

    g. Call recordings must be clear and understandable. Vendor shall submit sample call recordings
       (minimum ofthree calls) that demonstrate sound quality oftheir system. Recordings may have
       any personal and facility information removed or be test calls between vendor personnel made
       on a vendor installed system.
            ;..
           J<.( aI3[3RES PONSE: READ, AGREE, AND WILL COMPLY.
            y
          All call recordings are clear and understandable to investigators - NCIC ensures that all
          call quality is provided at an acceptable frequency for all callers. NCIC has p rovided a
          separately sealed USB drive containing sample call recordings for the County to review.

    h. The proposed system should have an up to date, secure, method of verifying the file is a true and
       accurate copy of the original. Describe their methods for authenticating a recorded call.
           ;..
          lV{aI3I3RE S P O NSE : READ, AG REE, AND WILL COMPLY.

          Call recordings within the proposed system are securely encrypted with the appropriate,
          unique checksum value, date, and time stamped, and stored along with the call data
          associated with that specific call. Each and every time a call recording is listened to,
          downloaded, copied, or emailed, this information and a timestamp of the event is
          appended to the call record - but the original recording is never compromised.

          This new information, which is kept for investigative and audit purposes, is attached to
          the existing file, but the original file is never overwritte n or edited.
          T hese fea tures maintain the integrity of each call recording residing within the IT S to
          support the chain of evidence and ensure that our data and recordings withstand the
          h ighest degree of judicial scrutiny.

 C. Inmate Phone Security
    a. The proposed system must allow the called party to block future calls from the Yellowstone
       County Detention Facility.
            ;..
          l ~ar3I3RESP O N S E: READ, AGREE, AND WILL COMPLY.

          During t he call setup announcement called p arties can deny t he current call by pressing
          "2" and block all future ca lls by pressing "3". Such call blocking abilities are available
          from both landlines (home phones) and cellphones.

    b. Preference that the system utilizes voice biometrics to verify inmate's identity and should sample
       call audio multiple times throughout the call. Describe how the proposed system uses voice
       biometrics to confirm identity.
           ;..
          J<.[aI3[3RESPO
           y
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          NCIC offers an industry-leading Voice Biometrics System (VBS), which is a "continuous"



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         voice biometrics application that synthesizes voice prints upon every use of the inmate
         telephone. There is no formal, cumbersome enrollment process for the VBS (meaning
         absolutely no staff/ officer involvement during the intake process) and inmates do not
         know that their voice prints are being created and refined with every call. F acility staff are
         able to locate instances of PIN theft and PIN sharing quickly and easily and use the
         intuitive user interface to locate events of interest. Additionally, NCIC is currently
         developing a security feature that identifies three-way c alling events and pinpoints the
         exact point within a call that the voice print changes from one inmate to another ("M ulti-
         Spea ker E vents").

         Additionally, calls or voice audio can be taken from other external sources (outside of the
         County's inmate telephone system) and manually fed throug h the proposed VBS in order
         to determine if a particular voice print belongs to an inmate who has previously been
         housed at any Facility using our system. Voice Biometrics is offered at no cost or
         commission deduction to the County.

         NCIC provides correctional personnel with numerous investigative tools to aid
         investigation in the analysis of calls and facilitates the discovery of actionable intelligen ce
         revealed through biometric processing, which may otherwise go unseen. T he proposed
         PIN System, utilizing both PINl and P IN2 security, combined with our VBS, has the
         following features:

         o         No lengthy enrollment process - Voice Prints are automatically and covertly created
                   and continuously improved, delivering highest accuracy rates possible.
         o         Identify PIN sharing events - Along with the ide ntity o f the imposter, allowing
                   investigators to focus their efforts on calls that have the highest likelihood to include
                   actionable intelligence.
         o         Query records by voice - Identify all calls in which the targeted inmate may h ave
                   spoken. Voices of civilians can also be run against database, p roviding investigators
                   with unparalleled intelligence gathering tools.
         o         Create voice prints on request - Prints can be processed against historical calls,
                   allowing inve stigators to listen to and extract potential intelligence, regardless of
                   inmate or civilian identity or number of telephones numbers used.
         o         Continuous Voice Identification - Provides investigators not only verification of whom
                   is speaking, but also the identity of all inmate(s) who speak during a call.
         o         Link civilians by voice - Our VBS is the only solution that can create and match on
                   demand or automatically, prints and biometric results for civilians in addition to
                   inmates.

    c.   The proposed system shall prevent the inmate from receiving a second dial tone, or "chain-
         dialing".
             ),.
         l t ( ~RESPONSE : READ, AGREE, AND WILL CO MPLY.
             'f
         The proposed system prevents chain dialing and secondary dial-tone ; inmates cannot
         make a second call until the first call is completed. T he centralized call switching uses a
         VoIP network connection to the inmate phones and not the public switched telephone
         network.




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    d. The proposed system shall prevent extra digits dialed by the inmate after the party has accepted
       the call.
          J.
         J~(~RESPONSE: READ, AGREE, AND WILL COMPLY.
           T
         The proposed system will not allow secondary dial-tone as it provides a synthesized dial
         tone and controls all interaction with the phone network, forcing inmates to hang up the
         existing call before they begin the next call, ignorin g any keypad input.

         The proposed system can be configured to allow extra digits to specified dialed numbers
         as is the case with speed dials to specific numbers and designated voicemails for services
         such as PREA, Crime Tips, grievances, Public Defender, sexual assault/harassment,
         medical requests, etc. All such numbers will be configured at no cost to the County.

    e. The proposed system shall guard against "hook-switch-dialing" and other fraudulent activities.
          J.
         xvr~RESPONSE: READ, AGREE, AND WILL COMPLY.

         The proposed system prevents hook-switch dialing and secondary dial tone. The inmate
         phones are not connected to a traditional phone line but to the platform, which provides
         a synthesized dial tone and controls all interaction with the phone network, forcing
         inmates to hang up the existing call before they begin the next call and ignoring any
         keypad input which may occur in between.

    f.   The system shall detect the difference between an accepted call, an answering machine, busy
         signal, and other telephone activity.
          ),.
         xvr~RESPONSE: READ, AGREE, AND WILL COMPLY.

         The proposed system uses a sophisticated answer detection algorithm which can
         distinguish between standard and artificial telephone tones, standard SIT tones, busy
         signals and even answering machines/voicemail to ensure accurate call answering,
         prevent erroneous billing and subsequent complaints. This technology helps to ensure that
         only customers who actively accept a call are connected and billed.

    g. The proposed system must be able to detect potentially fraudulent telephone activity and at the
       County's discretion disconnect calls automatically.
         *~RESPONSE: READ, AGREE, AND WILL COMPLY.

         Our patented Three-Way CalJ Detection system listens for silence detection on a near-real
         time basis using various algorithms developed based on research on thousands of three-
         way call attempts. When the system determines that a three-way or call forward has been
         attempted, a warning message can be played to the parties on the call (based on the
         preferences of the Facility), and the call record is permanently marked as a three-way
         attempt (providing administrators an easy way to go back and listen to the call). If
         required by Yellowstone County, the system can be configured to terminate any detected
         three-way calls. However, we typically find that correctional agencies p refer to allow them
         to continue, to help gather valuable investigative data.




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       h. Describe types of fraud their system will detect and how it prevents fraudulent telephone
          activity.
           t1m3l3RESPONSE: READ, AGREE, AND WILL COMP LY.

           In addition to the information provided in the section herein, Inmate Phone Security
           (items a thro ugh g) , NCIC's proposed voice biometric identification system can detect if
           an inma te is committing an act of PIN theft.

           Additionally, our three-way call detection offers varying levels of confidence on detected
           calls with an option to block, flag and alert users in the case of suspected or confirmed
           three-way call attempts and is the first in the industry to offer DTM F digit collection on
           the called party end, which results in significantly less "false positives," as it does not only
           rely on silence detection like most systems .


4. Inmate Video Visits
   The System must provide both remote and onsite video visitation for inmates and visitors.
   A Hardware and equipment
      a. Describe the hardware (tablets, kiosks, etc.) inmates can visit on.
             ;.
           l l ( m3I3RESPONSE : READ, AGREE, AND WILL COMPLY.
             y
           NCI C's proposed InT ouch Video Visitation System (VVS) is p rovided to inmates through
           our correctional grade kiosks (and tablets) that are manufactured and assembled by
           NCIC. NCIC's industry-leading, correctional-grade kiosks and tablets have been
           d es igned specifically for use in a correctional environment, are sturdy, robust, and have
           no exterior removable components . The top surface of the kiosks is angled to prevent
           inmates from placing drinks and other items on top of the units, which are moisture
           resistant. Neither NCIC nor our Facility customers have encountered any limitations of
           the proposed VVS. As with all other aspects of NCIC's technologies a nd service, our
           correctional kiosks and tablets are provided and mainta ined at no cost. Shown below are
           the typical specifications pertaining to the equipment (portable / roll-around options are
           shown towards the bottom right of the following specification sheet):




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                                     EQUIPMENT SPECIFICATION SHEET/ VIDEO VISITATION DESCRIPTION


          The NCIC video visitation kiosk offers touch-screen
          input and Is made of a rugged 16-gauge steel shell that
          contains small openings for cooling and ventilation -
          there are no exterior removable parts. The NCIC kiosk
          employs a heavy- duty armored swivel handset that is
          hearing-aid compatible, and has an anti-static
          receiver . The NCIC kiosks are designed to be wall
          mounted In Its structure by being securely bolted .
          Aside from wall mounted kiosks, NCIC also provides
          correctional facilities with a portable kiosk option that
          can be easily transported to provide video
          communication and a range of other inmate
          applications .

          The interior of the proposed kiosks contain a powerful encrypted CPU and monitor designed to be secure and ideal for
          a correctional environment.


          FEATURES
              Polywell Mini PC
              CPU : Intel Celeron Quad core @ 2 .0Ghz
              Ram : 4 Gb
              Storage : 32gb SSD
              Kingtouch Monitor
              17-l nch touch screen
              Tempered shatterproof touch panels
              Cameras
              Microsoft LlfeCam cinema 5.0 Mega Pixels
              ELP- USBFHD06H-MF80 2mp USB Camera
              (8MM manual focus lens, 3m USB cable, without
              microphone)
           •  Handsets
              24inch and 32 Inch swivel handsets
           •  Video Visitation Unit Shells
              17-inches wide, 19-lnches In height and 6-inches
              in depth
              Kiosk Shells
              19-inches wide, 11 ½ Inches In depth, 59 -inches
              in height , w ith a 22-inch x 21-inch base plate

          Environmental Soecifications
              Min. Operating Temperature : 32•F / l.7"C
              Max. Operating Temperature: go•F / 32 .2"C
              Operating Relative Humidity: 8% to 90%




    b. The vendor must provide sufficient hardware and equipment for inmates to make regular video
       visits. Hardware must be designed for a corrections environment.
        :rC:(4!13I3R ES PON SE: READ, AG REE, AND WILL COMPLY.
         y
       All proposed equipment is robust and designed to be used in a correctional environment.
       NCIC will consult closely with YCDF personnel to establish the optimal quantity and
       placement of hardware.

    c. The Vendor should provide a minimum of three visiting kiosks or stations in the facility lobby
       for local visiting.
         ),,.,
        ~4!13I3RE S PON SE: READ, AGREE, AND WILL CO M PLY.




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 B. Inmate Video Visit Security
    a. The system must allow users to monitor and terminate active visits.
          J..
         JvrG!I313RESPONSE: READ, AGREE, AND WILL COMPLY.

        Upon acceptance, both parties are notified that "All visits are subject to monitoring and
        recording" (unless the visit is to a verified Attorney that has been added to the Privileged
        list, in which case, this standard warning is absent). All recordings and prompts are
        displayed in the language selected to navigate the kiosk and place the visit.

        All video visitations sessions are automatically encrypted and recorded from the beginning
        of the session. All systems utilize Amazon's S3 (Simple Storage Solution) storage services
        where recordings are stored in a minimum of 3 separate locations and encrypted in AWS'
        proprietary encryption code.

        NCI C's InTouch VVS allows for real-time monitoring of live Video Visits, from directly
        within the web-based User Interface.


                (!• NCIC NCIC Test Facility                  15.54 PM               ~ Dashboard      Aogelo •

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                  Noles: lnrnote ,nihotcd




                                                                          ♦WHiMHi




        As can be seen in the sample screenshot above, the Live M onitoring application is user-
        friendly, allows for investigators / administrators to mute / u n m u te one or both sides of
        the visitation, send warning messages to one or both participants, and terminate the
        session if needed. Functionality within the Live Monitoring feature of the proposed Video
        Visitation system is available based on user permissions and daily job functions of
        authorized users.

    b. The system should utilize voice biometrics to verify inmate's identity during video visits.
        lCDI:G!I313RESPO
         ..,,            NSE: READ, AGREE, AND WI LL COMPLY.

        Audio from video visits can be manually run through NC IC's Voice Biometrics System
        upon request, allowing the County to determine the identity of the inmate on the visit, as
        well as determine if the visitor was previously incarcerated at YCDF or any other detention
        facility that utilizes NCI C's VBS service.




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                                                                                         INMATE COMMUNICATIONS




    c.   If inmates visit through portable hardware (i.e., tablet), the system must be able to limit inmate
         video to specific areas of the housing units, as designated by the county .
          .J.
         J~~RESPONSE: READ, AGREE, AND WILL COMPLY.

         NCI C's proposed tablet solution prevents potential violations of privacy by utilizing our
         aforementioned facial detection feature . It "greys out" the entire frame of what the tablet
         camera sees with the exception of faces . The only thing visible on the screen during a
         video visit on at tablet would be a face.

         NCIC is aware that YCDF personnel have serious reservations about the prospect of
         offering video visitation through portable devices, and we understand the reasons why.
         While NCI C's proposed tablets are absolutely capable of offering video visitation (which
         can be secured by our Facial Detection feature), NCIC will only look to implement that
         feature in certain designated areas of the Facility, as specified by YCDF personnel.

    d. Describe types of fraudulent video visit activity the system will detect and how it prevents
       fraudulent video visit activity.
          •
         ¥~RESPONSE: READ, AGREE, AND WILL COMPLY.

         NCIC's proposed VVS allows for users to configure the video settings on a global level to
         enable the blurred background/face detection features . These features can be applied to
         either remote or onsite visits and for the feature to be enabled on the inmate's or visitor's
         side, or both. Please refer to the following screenshot. In addition, the proposed VVS
         allows for these security features to be disabled for specific inmates or visitors based on
         the County's needs .

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         Additionally, the proposed Voice Biometrics application can be applied to Video
         Visitation, to further secure the system.




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 C. Remote Visitor Interface
    a. The proposed video visitation system must be easy to use and should work on all major
       smartphones, tablet computers, and computers (equipped with camera and microphone).
        *~RESPONSE: READ, AGREE, AND W ILL COMPLY.

        The proposed VVS is entirely web-based and can be accessed through any smartphones,
        tablet computers, or computers with an operational camera and microphone.

    b. The proposed video visitation system should provide the visitor with a diagnostic test to check
       their internet connection is capable of video visitation.
         J..
        Jvt~RESP O NSE: READ, AGREE, AND WILL COMPLY.

        The proposed system includes a comprehensive pre-connection diagnostic check, to help
        ensure that users enjoy the best possible experience. Shown below are several sample
        screenshots of the user-facing diagnostic test:



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                 Make a sound and when the sound bar lights up, you may stop the microphone test and enter visit.



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     c. Describe in detail, the system's compatibility with consumer hardware and operating systems,
        including known limitations.
          XC'(ai:3I3RESPCNSE: READ, AGREE, AND WILL COMPLY.
           T
         The proposed VVS is entirely web-based and requires no specific hardware or operating
         system in order to allow for a video visitation to take p lace. There are no known limitations
         through our VVS; although, a reliable internet connection is required in order for the
         system to operate optimally.

  D. Scheduling
     a. The video visitation system must be able to allow inmates to schedule visits, independent ofstaff.
        Vendor should, describe in detail, options for scheduling video visits.
           •
          ~al:3I3RESPCNSE: READ, AGREE, AND WILL COMPLY.

         The proposed VVS comes equipped with a robust scheduling component, so that inmates
         and their approved friends and family can manage their own scheduling, without the
         involvement of facility staff. Additionally, the proposed VVS allows for "impromptu" (ad-
         hoc) video visitation, if allowed by the facility. NCI C can implement any combination of
         these scenarios, based on the specific requirements of the County.

         The system can allow for inmates to initiate video sessions without the need for a
         scheduled session as long as the visitor has a pre-paid account registered and is on the
         inmate's approved calling list. All impromptu video sessions will be monitored and
         recorded in the same fashion as scheduled visits.

         The proposed VVS platform allows a visitor to schedule a remote video visit from any
         personal mobile device, tablet and/ or home or public desktop computer with an internet
         connection, through the user-friendly website. Remote video sessions can be made
         through a desktop, laptop, tablet, or mobile device. NCIC recommends using
         Windows10/Windows 11 or the most rec ent version of Mac OS as the compatible software.

         NCI C's proposed online scheduling system allows visitors to have a listing of all eligible
         inmates that can participate in video visitation sessions as well as an automated
         scheduling calendar depicting the available dates and times to choose from. The proposed
         VVS provides visitors with notification by email/text/banner a lerts in the event their
         scheduled session has been cancelled.

        Once a visitor's account has been c reated, visitors will be prompted to begin the process
        of scheduling their visit which requires selecting the agency name, inmate name, and
        selecting their preferred date and time to visit. The scheduler is built with sophisticated
        tracking to know which kiosks are available based on the schedule put in place for each
        housing unit and how many visits are available at one time. This prevents the occurrence
        of scheduling conflicts for video sessions. Following are various screens hots depicting the
        account creating and scheduling options.




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 E. Video Recordings
    a. All video visits, with the exception of privileged communications, must be recorded, stored online,
       accessible, and downloadable by the county for a minimum ofone year from the date of the visit,
       and at no charge to the county.
          •
         !,~RESPONSE: READ, AGREE, AND WILL COMPLY.

        All visit sessions are automatically recorded unless the vtsltor is flagged as a verified
        attorney visit (or as otherwise indicated by the facility) . All stored visit recordings are
        available as specified by the Facility. Video storage is managed in the same fashion as
        phone recordings to ensure the integrity of the recordings . All recordings shall be



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       protected from being purged and shall be stored online. Certain recordings can be
       separated and stored beyond the usual storage time allocation, if needed. Visit sessions
       and Visit Detail Records are always stored in at least three geographically separate
       locations to ensure maximum system redundancy. The length of time that recordings are
       stored is based on the preferences of the County.

    b. Users must be able to search visit recordings by inmate's name, date of visit, and location in
       facility inmate was housed.
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         y
       The proposed lnTouch Video Visitation system allows users to track, research and
       investigate visitation history from within the web-based platform. Available search
       parameters include visitation date, visitor, inmate, and more as pictured.


             Visits History o

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       The proposed VVS includes a comprehensive range of reporting capabilities, including a
       set of "canned" reports that are commonly used by Facility personnel. Reports are both
       investigative and managerial / financial in nature. Additionally, NCIC will deploy our
       experienced Reporting experts to design and make available any custom reports as
       required by Yellowstone County. The following reports are available to authorized users
       from the proposed VVS application:

        •      Visit History Reporting
        •      User Activity Reporting
        •      Ticket Usage Log Reporting
        •      Inmate Document Log Reporting
        •      External Service Log Reporting
        •      Inmate Message Log Reporting




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    c.   Visit recordings should be easily downloadable, by both individual recording, and batch
         downloads of multiple recordings by shared criteria (e.g., inmate's name, date of visit, and
         housing unit).
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          T
         All visit recordings are downloadable in the same manner as the call recordings by shared
         criteria as noted above .

    d. Filenames of visit recordings should include identifying information (e.g., inmate's name and
       date of visit).
          ;,.
         l~QI3I3R ESPO N SE: READ, AGREE, AND WILL COMPLY.

         All visitation recordings are stamped with identifying information of the visitor names
         involved and the date/ time the visit took place.

         Yellowstone County suggested this feature during NCI C's technology demo in early 2022.
         Our development team created and implemented this feature b ased on the County's
         recommendation. NCI C's continued commitment to improving our platform by openly
         accepting new development ideas and requests allows for ongoing growth and
         advancements to our Inmate Communication Systems and Services.

         Please reference the following sample image of a video visit file name.




                                                                                                                                                                                                                                        Page I 54
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    e. Video visit recordings must be downloadable to a common video format (e.g., mp4, mpeg, avi,
       etc.).
         j,
        J~QI313RESPONSE: READ, AGREE, AND WILL COMPLY.

       The proposed system outputs downloaded video visit sessions in the standard WEBM file
       format allowing for any modern browser to be used as the player; therefore, no proprietary
       player needs to be downloaded to view the video visits .




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    f.   The proposed system should have an up to date, secure, method ofverifying the visit file is a true
         and accurate copy of the original. Describe the proposed system's methods for authenticating a
         recorded visit.
           ;..
         l\,(m313RESPONSE: READ, AGREE, AND WILL COMPLY.

         When a video visitation session begins, the proposed VVS creates a unique session
         identification number, storing it in the system with the appropriate recording in order to
         provide an encrypted code for authentication.

    g. Video visit recordings must be clear and understandable. Vendor shall submit sample video
       visit recordings (minimum of three visits) that demonstrate sound and video quality of their
       system. Recordings may have any personal and facility information removed or be test visits
       between vendor personnel made on a vendor installed system.
         *QI313RES P ONSE: READ, AGREE, AND WILL COMPLY.

         All video recordings are clear and understandable to facility staff and investigators - NCIC
         ensures all video and audio quality is provided at an acceptable level for all
         inmates/visitors. NCIC has provided a separately sealed USB drive containing sample
         video visitation recordings for the County to review.

 F. Mandatory Visitation
    a. Video visitation is important for inmates to stay in contact with family, friends, and the
       community.
         *4I[3!3RESP O NSE: READ, AGREE, AND WILL COMPLY.

         NCIC remains a staunch supporter of the notion that increased connectivity between
         incarcerated individuals and their friends and families is extremely important. As we
         discuss furth er in the applicable portions of our RFP response, NCI C's VVS bills for usage
         in a truly per-minute fashion - never charging for unused minutes. NCI C on{v charges for
         Video Visitation once a session has been connected. NCIC's approach differs from the
         typical a pproach in the industry, which is to bill for VVS in "blocks" of time, and charge
         for it at the time of scheduling. This approach tends to penalize consumers for minutes
         not actually used (e.g., for late arrivals, dropped sessions, etc.), and generally discourages
         overall usage. This is one of the main reasons that the proposed VVS generates more usage
         revenue, on a per-month, per-inmate basis, than competing systems.

    b. The system must allot a minimum of forty-five minutes of video visit time to each inmate in the
       facility, at no charge to the inmate or facility.
          ;..
         l ~ QI313RESPONSE: READ, AGREE, AND WILL CO MPLY.

         Visit/ session durations are customizable based on the specific requirements of Facility
         administration, and can be tailored to specific housing areas, inmate classifications, or
         down to the specific inmate PIN. Unlike certain other systems in the industry (and as
         described above), the proposed system does not force the inmate and visitor to
         participate in the entire block of the session (and pay for the entire block). Visit sessions
         can be paid for on a per-minute basis.




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            Shown below is the area of the system where the daily availability for the proposed VVS
            can be configured.

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       c.   The system should allow increased visit time, based on classification, and assignment to work
            details, at no charge to the inmate, or facility.
            *         aJ3!3RESPONS E : READ, AGREE, ANO WILL COMPLY.

            As described in our Transmittal Letter, one of the main strengths of NCIC's overall
            proposal is that NCIC will be offering the ability for YCDF personnel to provide
            extended (or free) access to things like video visits, phone calls, messaging, or
            entertainment material, for Trustee inmates or for otherwise rewarding good inmate
            behavior, at the discretion of Facility personnel. NCI C will offer this ability at no cost
            (or commission deduction) .

   G. Privileged Video Visits
      a. The county is interested in systems that can provide non-recorded, video visitation to specific
          government agencies (Public Defenders, Probation and Parole, etc.) at no cost to the county or
          agency. Describe options available for privileged video visits .
                .l.
            J~aJ3!3RESPONSE : READ, AGREE, AND WILL COMPLY.

            Free visitation allowances are also extremely granular and can be associated with inmate
            PINs, specific phones/housing areas, or special visitors such as attorneys, parole officers,
            etc. NCI C can configure all forms of privileged communications (phone calls, video visits
            and messaging) based on the requirements ofYCDF.

5. Inmate Text-Based Messaging
   The proposed system must provide some form of text-based messaging or secure email to inmates.
   A. Messaging options and fees
      a. The vendor shall, in detail, describe the system's text-based messaging options.
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       NCIC is providing a secure, integrated Inmate Messaging application which can be
       provided through the Inmate Kiosks and / or Inmate Tablets (based on the allowances of
       Facility administration). Inmate messages are subject to a range of security features,
       including:
       ✓ Ability to detect certain keywords within messages . The proposed system offers a
           standard dictionary of common keywords and offers the ability to supplement that
           standard dictionary with local slang and colloquialisms .
       ✓ Ability to quarantine messages based on whether keywords are detected, or whether
           they contain attachments, etc. Quarantining the messages would delay delivery until
           facility review. Quarantining can be done based on inmate or outside party, particular
           kiosk being used, etc .
       ✓ Ability to limit the amount of characters / length of the messages. This can be done
           based on inmate or outside party, particular kiosk being used, etc.
       ✓ Ability to send an email or text alert to designated investigators with messaging
           occurrences.

       Following are sample screenshots depicting the proposed Inmate Messaging application.

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 B. Messaging Security
    a. All inmate text-based messaging, with the exception of privileged communications, must be
       recorded .
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          y
         By default, the proposed messaging application will record and store all messages, aside
         from privileged messaging. AJI recorded messaging data and content will be stored for the
         life of the Agreement, or longer if needed.

    b. All message records must be maintained for the life of the contract.
         J.¢(QI313RESPONSE : READ, AGREE, AND WILL COMPLY.

         All messages are stored in the system for the life of the contract, or longer if needed, with
         the exception o f attorney/ client conversations.




    c.   Message records should be searchable by inmate's name, date message was sent, and location of
         inmate who sent message .
          .l
         ~QI313RESPONSE: READ, AGREE, AND WILL COMPLY.

         All messages ·are stored in the system and are searchable by inmate name, visitor name,
         specific date / time, specific keyword searching, or by text / attachments only.



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                                                                                          INMATE COMMUNICATIONS




       d. Message records should be downloadable to common file formats (CSV, XLSX, XLS, PDF, etc.).
              J..
           Jvt~         RESP O NSE: READ, AGREE, AND WILL COMPLY.


       e. The proposed system must allow for users to block inmates from sending and receiving text-
          based messages.
              ,I.
           J~~RESPONSE: READ, AGREE, AND W ILL COMPLY.

          The proposed system is capable of rest ricting inmates from sending or receiving text
          messages through the system. These restrictions can be put in place as a temporary or
          permanent hold. Related features are also available, such as the ability to plac e other types
          of restrictions, such as character limitations or restrictions on attachments, based on
          specific inm ate or visitor profile.

6. Inmate Forms and Facility Tools
   The proposed system must include modern communication tools between inmates and the facility, at no
   cost to the inmate or facility.
     J.
    Jvt~RESP O NSE: READ, AGREE, AND WILL COMPLY.

   NCI C can offer Yellowstone Coun ty staff and inmates with a robust communications to ol
   th rough the use of grievance/ request filing, provided directly through the proposed InTouch
   Suite. This feature is considered standard and comes at no cost to either inmates or the F acility.

   A. Inmate Requests and Grievances
      a. The proposed system must allow for inmates to submit facility requests and grievances, and to
         receive responses from the facility.
      b. Forms should be customizable by the facility
      c. Describe, in detail, their system for inmate form and grievance submission.
              J.
          ~         ~   RES PON S E : HAS READ, AGREE, AND W ILL COMPLY W ITH ALL ITEMS ABOVE.

          The proposed Grievance request module (which NCIC refers to as our "Ticketing"
          system) allows for customized creatio n of Ticket Types based on the preference of each
          facility, as well as date / time stamping of all communications so that timeliness of
          responses can be tracked, for compliance purposes. T hese requests can be managed and
          responded to by Facility p ersonnel and can also be re-assigned to app ropriate Facility
          staff, if needed. The imp lementation of an electronic Ticketing system, including all
          expected escalation capabilities, and replacing paper-based p rocesses, reduces Facility
          liability related to inmate complaints about grievances not being respon ded to / addressed
          in a timely manner.




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       The proposed Ticketing system allows for each "Ticket Type" to deliver incoming
       requests to the appropriate facility personnel, based on their individual roles . This
       streamlines the delivery of Tickets to facility staff in such a manner that they only interact
       with those Tickets that pertain to their duties . Should an inmate inadvertently submit a
       Ticket as the wrong "Ticket Type," the recipient of the Ticket can easily re-classify that
       ticket such that it reaches the correct recipient.




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         In addition to "Inmate Tickets," the proposed system also includes "Admin Tickets"
         which brings similar functionality but is designed for facility personnel to initiate the
         communication to inmates (rather than inmates initiating it) . Admin Tickets are simply a
         ''staff to detainee" communications tool, to help furth er eliminate paper-based processes
         and allow staff to interact with inmates without needing to visit the inmate housing areas .

  B. Facility material and messages
     a. The proposed system must allow for the facility to easily disseminate documents to inmates,
        such as rule books, schedules, etc.
          )..
         l V{m313R ESPONSE : READ, AGREE, AND WILL COM PLY.

         Facility personnel are able to utilize the 'F acility Documents' function to upload any
         pertinent documents such as the jail handbook, Rules and Regulations, rehabilitative
         programs, PREA information, etc.

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                                                  ~ i) NCIC       - . . _ , . Jail - TX                              ~ Dashboard                                      Every



                                                  Facility Documents                                                                            Add lnmat.o FKIIIIY ~melll




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     b. The proposed system should allow the facility to disseminate media files (videos, sound files)
        such as an audio rule book, or instructional videos for inmate laborers.
          A
         l ~ m313RE S PON SE: READ, AGREE, AND W ILL COMPLY.

        The proposed " F acility D ocuments" function also allows for video and sound files to be
        uploaded and accessible to inmates directly through the proposed kiosks . Common
        examples of facility videos made available to inmates include PREA and Orientation
        videos .

        This feature allows for various res ources to be loaded into the system either in a manner
        that requires inmates to "acknowledge" the resource (with a date & time stamp
        associated), and / or can simply make these resources available on an ongoing basis,
        through the kiosks and tablets.


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    c. The system must allow for the facility to send messages to both specific inmates and groups of
       inmates.
        {fm3!3RESPONSE: READ, AGREE, AND WILL COMPLY.

       The proposed InTouch application allows Facility staff to submit electronic messages and
       responses to either all specific inmates or groups of inmates. Messages to specific inmates
       can be securely delivered using the Admin Tickets function, and messages to groups of
       inmates, or the entire population, can be disseminated using the Broadcast functionality.

    d. Describe, in detail, the options available to provide facility documents and messages to inmates.
         ;.
        llptQBI3RESPCNSE: READ, AGREE, AND WILL COMPLY.
         y
       Facility personnel are able to utilize the 'Facility Documents' function to upload any
       pertinent documents such as the jail handbook, Rules and Regulations, rehabilitative
       programs, PREA information and any other documentation required by Yellowstone
       County. This can be provided through the kiosks as PDF files, images, videos, and audio
       recordings. In the event that a large number of documents / resources are needing to be
       loaded, the proposed system allows for the creation of "folders" to sort these resources by
       topic / category.

       Following are several sample screenshots of the Facility Documents, Admin Tickets and
       Broadcast Messaging func tionality.

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                                                                                 Inmate Rules


                             1. Before I am given the privilege of using an electronic tablet, I am required to read and agree to all
                             rules

                             and procedures listed in this user's contract and follow all San Luis Obispo County Jail rules. Failure to do

                             so may result in the suspension of my tablet use.

                             2. I will be assigned a tablet to utilize during approved times while in my housing unit.

                             3. It is my responsibility to maintain earbuds in my possession and that they are to be used for tablet use

                             on ly. Earbuds may be confiscated if they are misused or altered from their origina l state . Earbuds issued

                             to or purchased by me are my property and I must take them with me when I am released . Earbuds




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  C.   Inmate Commissary
       a. The proposed system must be able to coordinate with the facility's commissary provider
          (currently Summit) and provide electronic commissary ordering to inmates.
           )..
          lvr~RESP O NSE: READ, AGREE, AND WILL COMPLY.

          NCIC has a vast amount of experience in integrating with third party software providers,
          including JMS, Banking/ Commissary companies, and other communication systems. All
          interface-related development will be completed at no cost. It is worth noting that NCIC
          has interfaced with Yellowstone County's commissary provider, Summit, at numerous
          other Facilities and will easily do so, if awarded. NCIC enjoys an excellent working
          relationship with Summit and the following Summit personnel can be contacted to attest
          to the positive nature of our working relationship, if needed:

          Brian Clark, Business Development Director
          Summit Correctional Services
          brian.clark@summitfoodservice.com

          Mike Cozart, VP of Commissary Services
          Summit Correctional Services
          mike.cozart@summitfoodservice.com

          NCIC has worked closely with Summit Commissary to provide a commissary ordering
          link on NCI C's Kiosk and Tablet hardware at other facilities and will be glad to do so at
          YCDF, if awarded.



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7. Inmate Tablets
   The facility is interested in systems that provide tablet computers to inmates for educational and
   entertainment purposes.
     ).
    J~aI3:[3RESP O NSE: READ, AGREE, AND WILL COMPLY.

   The proposed tablet has a heavy-duty exterior which is specifically designed for a correctional
   environment, allowing it to withstand a shock and/ or drop test onto concrete. NCI C has used
   similar grade materials to the kinds used in                                    ·
   bullet resistant glass, windows in correctional
   facilities, military applications, etc. This case
   protects the tablet from tampering, general
   d amage, and contraband storage. NCIC has
   only allowed access through this secure case to
   critical hardware buttons such as the power
   button, volume buttons, and home button.
   Please see sample image of a NCIC tablet.

   The proposed Inmate Tablet solution operates
   on a dedicated Wi-Fi network that does not
   allow access to external networks , websites, or
   applications . The tablet's wireless solution has
   various components that can be either wired to an extended switched ethernet network or can
   be fully meshed with other existing access points . At no time, will inmates be able to acces s the
   Operating Systems of the proposed Inmate Tablet solution. Prior to being deployed in
   correctional facilities, the proposed Tablets are subject to strenuous Penetration T es ting
   methodologies to ensure that they are suitable for deployment in a correctional environment.

   The proposed Tablets are essentially an extension of N CI C's wall-mounted kios ks, capable of
   offering video visitation services (if needed), standard inmate phone calling, messaging,
   grievances/ticketing, educational & rehabilitation program services, entertainment options,
   commissary ordering, inmate handbooks, law library, medical/mental health sick call requests;
   digital mail services and various other services, based on the preferences of faci li ty
   administration.

   Ratio ofDevice to Inmate
   Scarcity of devices breeds unhealthy competition and behavior problems amongst inmates.
   The facility is interested in up to a one-to-one device ratio, of tablets to inmates housed in the facility.
   The vendor must state what ratio of tablets to inmates it will provide to the facility.
      )._
    J~aI3:[3R E S PON SE: HAS READ, AGREE, A N D WILL COMPLY WITH ALL ITEMS ABOVE.

   NCIC is willing to provide YCD F with a one-to-one, device to inmate ratio.

   Describe, in detail, the educational and entertainment options on their system.
     )._
   J,aI3:[3R ES PON SE: READ, AGREE, AND W ILL CO M PLY.

   NCIC strongly believes in widespread accessibility of educational oppo rtunities for those who are
   incarcerated. Because of this, we believe a truly impactful tablet program requires free and
   continuous access, irrespective of in mate's ability to pay or socioeconomic status. T he re are m any



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 tablet programs that focus on a revenue generating model, requiring inmates to "pay to play."
 These programs that charge inmates to access content and entertainment (such as movies,
 games, music, e-books, etc.) often see significantly lower engagement rates . NCIC has
 deliberately avoided this type of scenario, with our tablet offering.

 Our Educational & Entertainment Suite helps students realize that incarceration is their
 opportunity to find a path forward instead of a brief pause from their struggles outside of your
 facility. These thoughtful courses were designed for detainees struggling with mental health
 issues, grief, anxieties, and addictions. Your efforts to offer these meaningful programs will help
 your community curb recidivism by providing encouragement to your detainees and their
 families .

 The students' user IDs are integrated with our communications suite, simplifying, and
 streamlining the login process, by allowing the same logins for all features of our platforms.

 Our Educational & Entertainment Suite blends over 20,000 classes and videos into key courses,
 such as:

 •   Parenting
 •   Anger Management
 •   Addiction Awareness and Control
 •   Management of Anxieties
 •   Substance Abuse
 •   Communications Skills
 •   Confidence Building
 •   Time Management
 •   Computer Skills
 •   Work Skills
 •   Religious Programming
 •   Language Programs
 •   Math Skills
 •   Reading Comprehension
 •   GED Prep
 •   Recharge for Reentry program to help detainees engage in meaningful communications with
     family, friends, and each other.




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            Please refer to Exhibit A for additional information regarding the proposed educational tablet
            solution.



8. Investigations
   Vendor must submit a detailed description of investigative tools included in system.
   A. Voice Transcription
      a. The proposed system must provide transcription of phone calls.
                              lC(~RESPONSE: READ, AGREE, AND WILL COMPLY.
                               y
                              NCIC is proud to announce the introduction of our proprietary, industry-leading
                              Correctional Transcription Service. NCIC's Transcription is a powerful tool for
                              correctional personnel and investigators which helps correctional and law enforcement
                              agencies gather actionable intelligence, helping prevent and solve more c rime. NCIC's
                              Transcription acts as a 'Workforce Multiplier' by alerting facility personnel and
                              investigators to items of interest within recorded inmate conversations which may have
                              otherwise go undetected.

                              NCI C's Transcription is an integrated part of the Inmate Call Engine ('ICE') investigative
                              suite, with no separate login or any special software required. From directly with the ICE
                              call player, investigators can simply click on the Transcription tab to access the
                              transcribed conversation which has automatically been processed and is available
                              immediately:



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       As can be seen towards the top of the screenshot above, the I CE call player transcribes
       sentence by sentence throughout the duration of the conversation, separating out the
       Destination and the I n mate sides of the conversation. By simply clicking anywhere in the
       transcribed text, the ICE call player will take the listener to that specific point of the call.

       If preferred by the investigator, the Transcription feature also offers the ' H igher Contrast'
       option which provides an alternative view with more definition and greater distinction
       between the Destination and the I nmate sides of the conversation.


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       NCI C's T ranscription Service also allows for keyword detection, which automatically sifts
       through every call placed from your facility to detect keywords of interest. As shown in the
       example screenshot below, investigators can search for multiple keywords of inte rest by
       simply entering them into the Keyword field (separated by a space) .




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       Investigators have the option of setting up automated / pre-scheduled Keyword Detection
       reports, which can be seamlessly delivered to their inbox at times / intervals specified by
       them. Shown below is a sample screenshot depicting the Keyword Detection report, and
       the clickable results which would take the investigator directly to those call recordings
       within the proposed system:
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             10/08/202119".22                            Avila, Gabriel                              25012                                      6122325896

                        • lrvnato             hOW muell did you see on Ille drug cases

                        • lnmato              oh tho drug carriers got away

         & CallDate                                      lnmale                                      Prn

             10/08/2021 19 33                            Dennis, Jeiemy                              11223                                      7362145583

                                              hopO lhoy'ro 90mg 10 11\0 drug lab


         ~ CaUOalc                                       lnmato                                      Pin                                        Oostmation

             10/08/202119.33                             Dilvld, Marques                             25711                                      6122325896

                        • trvna1e             they were !he ones moving the drugs

                        • IIYn.!to            yeah sammy had the drugs before t Jgot busted


         ~ Coll Oalo                                     Inmate                                      Pin                                        Dcsbnallon

             10/08/202119.42                             Grady, Steven                               25269                                      7362129632

                        • OosbnalJOn          I s.iw him drug her dun\ at the bar




       Investigators also have the option of exporting selected transcriptions which provides the
       transcribed calls into a simple Word document for easy review and sharing.




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                                                                                                         INMATE COMMUNICATIONS




                Coll Date: 1/21/2021 8:27:05 AM
                Facility: m County Detention - CA
                Inmate: Galindo, XXX (418XXX)
                Destination: 213407XXXX

                DESTINATION: Say something
                DESTINATION: that's weird
                INMATE: what's wronq?
                DESTINATION: I thought you said you would call yesterday after you had spoken to her?
                INMATE: relax I qot busy. 111 do it today.
                DESTINATION: Just do it like we spoke about, othe1wise there will be trouble, here?
                INMATE: it ranq and ranq and ranq and then i ranq it costs money you know?



    b. The preferred proposed system will also provide transcription ofVideo Visits.
        *~RESPONSE: READ, AGREE, AND WILL COMPLY.

        The NCIC development team is currently expanding the functionality of the proposed
        Transcription and Keyword Detection service to also apply to Video Visits. While the
        automatic transcription service is being wo rked on, YCDF can make requests for the
        transcription of specific video visits and NCIC wi11 have them manually run through our
        audio transcription engine .

    c. The proposed system should allow keyword searches for all transcribed records and text-based
       messages .
         ...
        ~ ~ R ESP ON S E : READ, AGREE, AND WILL COMPLY.

        The proposed system allows grants the abili ty to detect certain keywords within messages
        and transcribed caU records . The proposed system offers a standard dictionary of common
        keywords and offers the ability to supplement that standard dictionary with local slang
        and colloquialisms .

        The proposed Keywo rd Detection system ope rates as a "workforce multiplier" by allowing
        agencies and investigators to easily be routed to conversations of interest, which may
        otherwise never get listened to.

 A. Automatic Alerts
    a. The proposed system must be able to send automatic alerts through email and or text messages
       to investigators, for all inmate communications.
         ...
        ~ ~ R E S P O N SE: READ, AGREE, AND W ILL COMPLY.

        The proposed platform features an Ale rt sys tem ("H ot Number Ale rts") whereby alerts
        can be sent via email, text, or phone call, allowing investigators to receive real-time
        notifications and covertly listen to calls of interest. The proposed System alerts
        investigators to cans of interest either prior to a call being connected or while a can is in
        progress (this is configurable based on the needs of the County) so that investigators can
        liste n to and / or approve the can.




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                                                          Screenshot - Alert Configuration
                                                                                                                                                        0


                                                                  - l Stctus: IActive                       GI
                     - General -      -       - - --       - - ~ - Actions -            -    - --           - --        - - -- - - - ~
                       case No: !~o_oo_o_ _ _ _ _~I                     - Notifications - --                 -   - - - -- - --                ~
                       Prlv;;te:      0                                    0 Email: Isero e;;ntl23@testem ail.com               J
                       EnterDate : ,-9,- 2-1/-20_1_7 - - - - ~ ,
                                                                           0 Text;;: !s ssss s 1212                         7
                                      Possible smuggltn~ in of
                                      drugs.                               carri er:        JOther                              GJ
                       Notes:
                                                                        - connect to Call-- - - - - - - - - - - ~
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                     - Trlooeroata - - - - - - - ~                        Alert Phone: J ssssss 1212                                I
                       Disposition:       I;.11
                                    ::======;;~
                                                                 GI       Code:              [ooo                                   I
                       Phone Loe:   I;.11    GJ
                                    ::======;=
                       lnmate Name: IMeJop:.
                                                                          Add Calls to Briefcase Folder
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                                    ::======;;~                         [ Brlefc.se :
                       Destination:       ~I;J_I   - - - - - -G-~          ~       gA~;; ~                             E]




        b. The proposed system's alerts should give investigators the option receiving calls, messages, and
           video for real time surveillance.
            ~(aI3!3 RESP O NSE: READ, AGRE E, AND Will CO MPLY.

           Once an "alerted" call is detected, the alert is sent to the alert list via email, voice, or text
           (depending on the alert configuration) . The alert will allow the investigator to
           approve/ deny the call and/ or listen to the caJI in-progress . Investigators can hear the call
           at any internet-connected computer or via cell phone/landline. Monitoring can be
           performed by multiple investigators at once, without affecting the ability of the system to
           record calls. Covert monitoring is not detectable by either the Called Party or the Inmate.

           Most commonly, investigators elect to simply receive email notification of calls of interest
           once the call has completed, with an email (including the call recording) being delivered
           to the investigator after the call is finished .

9. Mail Scanning
   The county is interested in options for electronic delivery of inmate mail sent through the USPS. This will
   require mail to be scanned, uploaded, and delivered through Tablet or kiosk.
     J..
    J~aI3!3R ES PON SE : READ, AGREE, AND WILL COMPLY.


   A. Onsite mail scanning
      a. The proposed system must allow mail to be easily uploaded by facility staff and delivered to
         inmates through tablet and or kiosk.
      b. Describe, in detail, the process for onsite electronic mail delivery.




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           ..
          J~m3!3RESPONSE: READ, AGREE, AND WILL COMPLY.

         If Yellowstone County prefers to scan all incoming mail onsite, the Facility will be
         provided with a state-of-the-art scanner that will be linked to the proposed Mail Scanning
         system. With this equipment in place, Facility staff will be able to scan all received mail
         and assign it to the appropriate inmate by searching this system either by inmate name or
         PIN. Once scanned and assigned, the mail will immediately and securely be available for
         the inmate to view, from the kiosks and / or tablets, unless there are any restrictions in
         place for specific mail flagging.

  B. Offsite mail scanning
     a. The county is interested in exploring an offsite mail scanning solution, where the vendor (or
         their contractor) receives, scans, and uploads the mail for digital delivery to inmates through
         tablet or kiosk If offsite mail scanning is offered, Vendor shall include a detailed description of
           ..
         the offsite mail process .
          ~m3!3RES PONSE : READ, AGREE, AND WILL COMPLY.

         NCIC is also pleased to offer our state-of-the-art M ail Scanning system which is a part of
         our overall lnTouch Suite. NCIC was prompted to develop our industry-leading Mail
         Scanning system after several NCIC Facility customers came to us, looking for a solution
         to a dangerous problem. Incoming physical mail has traditionally been one of the primary
         methods used to introduce dangerous illicit drugs and other contraband into correctional
         facilities. By intercepting the incoming physical mail and converting it into digital format
         for secure delivery to inmates, NCIC's Mail Scanning application disrupts the flow of
         incoming contraband such as harmful drugs which are commonly soaked into paper,
         greeting cards, envelopes, and stamps. All scanned mail is performed on a real-time basis
         and is available to the inmate almost immediately.

         lnTouch Mail Scanning significantly reduces the workload faced by Facility personnel,
         because under the typical deployment, all physical mail intended for the Facility is re-
         routed to a secure off-site mail processing center (located at our company headquarters in
         Longview, Texas) which was designed specifically for the purpose of receiving, sorting,
         scanning, and managing large volumes of physical mail destined for correctional facilities .
         Deployment of the InTouch M ail Scanning system involves instructing friends and
         families of inmates to send all mail to a particular P.O. Box for delivery to NCI C, rather
         than to the Jail facility. NCI C helps with this process by providing informational flyers and
         posters for display throughout the facility, as well as posting the information on the
         Sheriff's or Jail's website.




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       Upon arrival at NCIC's secure mail processing center, our highly trained personnel sort
       mail by Correctional Facility and carefu1ly scan all qualifying mail for electronic delivery
       to the intended inmate's secure message center using the unique identifier for each inmate
       (e.g., SO number, Jacket number, Booking number, etc.), accessible by the NCIC Inmate
       Tablets and Kiosks inside each housing area within the Facility. The front o f the envelope
       is scanned in along with the contents of the envelope (letter, postcard, etc.), so that
       inmates can see all aspects of their mail (and for investigative benefit). Upon logging into
       the Inmate Tablet or Kiosk with their own unique P IN and PIN2, inmates will be notified
       in their "Message Center" if they have any messages awaiting them, including scanned
       mail. Not to mention, digital delivery is more environmentally friendly than traditional
       mail delivery.




                                                               _InTouch
                                                                - - -~     MAIL SCANNING




       NCIC's InTouch Mai~ Scanning application benefits all involved parties - improving the
       communications experience for inmates and their friends and families, increasing safety
       within correctional facilities while decreasing the workload for Facility personnel and
       streamlining facility operations by reducing paper-based processes.




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                                                                                                                                 INMATE COMMUNICATIONS




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               1115-2021 03 .29




               ~ - NCIC                NCIC Demo                                         13 15 PM                                ~



                Mailbox For John Adair
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               NA m,..




                                                                    MM R~"l.n d At 11--lS-2021 OJ:.l!>




                                                                    A ngela Rabadan
                                                               Ii                                                   B




 C. Charges/ fees
    a. Clearly state all charges and fees associated with mail scanning for both onsite and offsite.
          J.
         llbt~RESPONSE: REA D, AGREE, AND WILL COMPLY.
          y
        NCIC's on-site Mail Scanning service is available at absolutely no cost to YCDF -
        including provision of the special scanning equipment offered by NCIC.


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            The off-site version of NCI C's Mail Scanning, where all qualifying mail is re-routed to our
            processing center, NCIC will likely assess a nominal commission deduction of between
            5% - 10%, but this (potential) commission deduction would on{v apply to Video Visit and
            Messaging revenue (not pho ne revenue), and there would be no ramifications for NCI C's
            proposed Minimum Monthly Guarantee (MMG). As with all aspects ofNCIC's proposed
            offer, this is completely negotiable.

10. Other Media/ Devices
   A.   Digital Pictures / Picture Messages
        a. The proposed system should allow friends and family to send pictures to inmates electronically.
        b. The proposed system must inspect and approve pictures, prior to delivery.
        c. The proposed system must not allow outgoing pictures.
        d. The proposed system must allow pictures to be disabled by users .
             .l.
            J~aI3l3RESPONSE: HAS READ, AGREE, AND WILL COMPLY WITH ALL ITEMS ABOVE.

           The proposed lnTouch Inmate Messaging system can allow friends and family to send
           pictures to inmates. Facility staff will have the ability to flag any and all picture
           attachments as quarantined messages in order to inspect and approve those photos, prior
           to delivery. Picture messages are only allowed to b e send one-way and inmates will not be
           able to send photo atta chments back out to Friends and Family.

           The proposed Messaging application is completely configurable and customizable based
           on the preferences ofYCDF.

   A. Other Services and devices
      a. If the proposed system includes devices other than phones, tablets, and wall mounted kiosks,
         include a detailed description of the device and what services it provides .
             .l.
            l~aI313RESPONSE: READ, AGREE, AND WILL COMPLY.

           NCIC can provide a video monitoring station consisting of a large, HD TV installed in a
           central control/visitation monitoring area. The H D TV is hooked up to a computer as an
           additional computer monitor where staff can leave the Live Monitoring section of the
           system open indefinitely allowing staff to monitor the video visits at all times.

           NCIC can also provide with he avy-duty portable roll-cart phones, should they be required.
           These phones work just like the proposed wall-mounted phones Including all recording
           and monitoring functionality.




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       NCIC can provide the County with cordless, robust phones ideal for medical or
       segregation areas and work directly with the Communication System. Shown are the
       preferred Uniden cordless phones, as well as the after-market modifications made to the
       phones, ensuring that they interface securely with the inmate telephone system.


                             Inmate Cordless Phone Modification
                              Before                           After




                                                                                       Page I 78
